22 F.3d 302
    Morris (Kelvin X.)v.Deramus (Erskin), Dr. Mihalic, Dr. Correa, Dr. Reiner,Fulcomer (Thomas A.), Superintendent, Dr. Suomela, NurseGreenleaf, Major Price, Dr. Dunn, Mr. Sobina, Mr. Cooper,Mr. Grove, Mr. Domovich, Nurse Eherhardt
    NO. 93-7454
    United States Court of Appeals,Third Circuit.
    Mar 25, 1994
    
      Appeal From:  M.D.Pa.,
      Caldwell, J.
    
    
      1
      AFFIRMED.
    
    